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UN|TED STATES DlSTRlCT COURT
FOR THE DlSTRlCT OF CONNECTICUT

GRADUAT|ON SOLUTEONS, LLC,
3:17-cv-01342-VLB
Plaintiff,
v.
ACAD[MA, LLC, and ALEXANDER
LOUKA|DES,

Defendants.

NIOTEON TO WlTHDRAW APPEARANCE

The undersigned counsel, pursuant to D. Conn. L. Civ. R. 7(e), requests that he be
permitted to withdraw as counsel for the Defendant A|exander Loukaides. in
support of this motion, undersigned represents that there is good cause as
Defendant Alexander Loikaides has retained alternative legal counsel.

Respectfully submitted,

lsl Ka thg{n R. Sglvester
Kathryn R. Sylvester

Po Box 5076
Woodbridge, CT, 06525-0376

June 28, 2018

Cc: all counsel by CN|IECF

 

